   Case 3:17-cv-01682-PAD Document 1 Filed 05/19/17 Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

 STAN PIERZCHAJIO                                     CIVIL NO. 17-1682

     PLAINTIFF
       v.                                              RE:    AGE    DISCRIMINATION   IN
                                                       EMPLOYMENT ACT, LAW NO.100 OF
 NORTHWESTERN SELECTA, INC.                            JUNE 30, 1959; LAW NO. 80 OF MAY
                                                       30, 1976
     DEFENDANT


                                                      DAMAGES EQUITABLE AND
                                                      INJUNCTIVE RELIEF



                                                      TRIAL BY JURY




                      COMPLAINT AND DEMAND FOR JURY TRIAL

TO THE HONORABLE COURT:

       NOW COMES the Plaintiff, through the undersigned attorney, and very respectfully alleges

states and prays:

                                        INTRODUCTION

       1.      STAN PIERZCHAJIO (Pierzchajio) brings this action under the Age

Discrimination in Employment Act ("ADEA"), 29 U.S.C. §621 et seq., seeking damages as a

result of the Defendant’s discrimination against plaintiff due to his age, and his discharge, in

violation of the ADEA, Puerto Rico’s Law No. 100 of June 30, 1959, as amended, and Law No.



                                                  1
   Case 3:17-cv-01682-PAD Document 1 Filed 05/19/17 Page 2 of 7




80 of May 30, 1976.

                                             JURISDICTION

        2.         Jurisdiction of this action is conferred upon the Court by 29 U.S.C. Sec. 633a (c)

and 29 U.S.C. 1132 (e), as well as under 28 U.S.C. 1331.

        3.         This Court’s exercise of supplemental jurisdiction is invoked pursuant to 28 U.S.C.

1367 to hear the Commonwealth law claims because these arose from the same nucleus of

operative facts.

        4.         Venue is proper in this district pursuant to 28 U.S.C. 1391 (b) (1) and (2).

        5.         All conditions precedent to jurisdiction under 29 U.S.C. 633a and 29 U.S.C. 626

have occurred or have been complied with:

        a.         A charge of employment discrimination on the basis of age discrimination was

                   timely filed with the Puerto Rico Department of Labor Anti-Discrimination Unit

                   and the Equal Employment Opportunity Commission (“EEOC”). The charge was

                   filed on January 27, 2016.

        b.         After proceedings at the Department of Labor, the parties could not solve their

                   differences.

        c.         The EEOC issued Right-to-sue letter in the EEOC charge on February 27, 2017

                   and was received by plaintiff on March 7, 2017.

        d.         This complaint is being filed within 90 days of the issuance and the receipt of the

                   “EEOC” right-to-sue letter.

        6.         All the discriminatory employment practices alleged herein were committed

within the Commonwealth of Puerto Rico.


                                                      2
   Case 3:17-cv-01682-PAD Document 1 Filed 05/19/17 Page 3 of 7




       7.       Defendant NORTHWESTERN SELECTA, INC. (hereinafter referred to as

“NWS”) is a corporation duly organized under the laws of the Commonwealth of Puerto Rico.

       8.       NWS is a “persons" within the meaning of 29 U.S.C. 630 (a).

       9.       NWS employs 20 or more employees and is considered "employer" within the

meaning of 29 U.S.C. 630 (b).

       10.      Defendant is engaged in an industry affecting commerce within the meaning of 29

U.S.C. 630 (h).

                                        THE NARRATIVE

       11.      Pierzchajio is 61 years old.

       12.      Pierzchajio started working for Defendant on March 23, 2015 until December 18,

2015, when his employment with the Defendant was terminated. At this moment, Pierzchajio was

in charge of the boat of the owners of Defendant. Pierzchajio was told that he was going to be

employed for at least a year.

       13.      Pierzchajio was always an excellent, capable and dedicated employee.

Pierzachajio had an excellent and spotless service record.

       14.      When discharged, Pierzchajio was falsely informed that he was being discharged

due to elimination of the position due to economic reasons. His boss, the owner of the boat, told

him that the boat was going to be sold. However, immediately after his discharge, Defendant

employed a substantially younger employee to occupy the position of Pierzchajio. The position

was not eliminated, but instead Defendant employed a young man called Antonio, about 30

years old, to occupy the position. The boat was never sold, neither did the owner have the

intention to sell it.

                                                3
   Case 3:17-cv-01682-PAD Document 1 Filed 05/19/17 Page 4 of 7




          15.   Further, the owner of the Defendant had commented Pierzchajio that the

Defendant’s finances were excellent. Moreover, later, when the defendant filed the charge of

discrimination before the EEOC and was confronted with the fact the Pierzchajio knew about

Antonio’s hiring, Defendant changed its version and alleged that it had discharged Pierzchajio

due to some performing issues, when Pierzchajio had no performing issues. The discharge of

Pierzchajio came after he handled and repaired the major issues that the boat had. Once these

repairs were done, the owner of the boat, his boss, changed his attitude toward Pierzchajio.

          16.   These actions led Pierzchajio to conclude that his discharge was due to his age.

          17.   Pierzchajio was in the age group protected by the ADEA; he was discharged; at

the time of his discharge, he was performing his job at a level that met his employers’ legitimate

expectations; and he was replaced by a substantially younger employee.

          18.   Defendants’ conduct is the proximate cause of all of Pierzchajio’s damages.

                                      FIRST CAUSE OF ACTION

          19.   Pierzchajio repeats and realleges each and every preceding allegation as if fully set

herein.

          20.   Defendant’s conduct against Pierzchajio constitutes discrimination on the basis of

age in violation of the ADEA.

          21.   As a proximate result of the defendant’s discriminatory practices, Pierzchajio has

suffered intensely, has been deprived of his means of livelihood and has been emotionally

devastated.

          22.   Defendant is liable to Pierzchajio for compensatory and emotional damages, back

pay, loss of income, salaries and benefits, and he is entitled to be reinstated to his former

                                                  4
  Case 3:17-cv-01682-PAD Document 1 Filed 05/19/17 Page 5 of 7




position, which he held prior to his discriminatory discharge, and/or front pay in lieu of

reinstatement until age 70.


                                 SECOND CAUSE OF ACTION

          23.   Pierzchajio repeats and realleges each and every preceding allegation as if fully set

herein.

          24.   Defendant’s discriminatory conduct constitutes a willful violation of the ADEA

and as a result thereof the defendant is liable to Pierzchajio for liquidated damages.


                                  THIRD CAUSE OF ACTION

          25.   Pierzchajio repeats and realleges each and every preceding allegation as if fully set

herein.

          26.   Defendant’s conduct constitutes discrimination on the basis of age in violation of

Law No. 100 of June 30, 1959, as amended and as a result thereof defendant is liable to

Pierzchajio for compensatory and double damages.


                                 FOUTH CAUSE OF ACTION

          27.   Pierzchajio repeats and realleges each and every preceding allegation as if fully set

herein.

          28.   Pierzchajio was employee in commerce and industry for defendants, for which he

worked for compensation under contract without a fixed period of time.

          29.   Defendant discharged Pierzchajio from his employment in violation of 29 LPRA

Section 185a et seq., which entitles him to the approximate amount of $6,540.00.


                                                  5
  Case 3:17-cv-01682-PAD Document 1 Filed 05/19/17 Page 6 of 7




                                        TRIAL BY JURY

       30.     Plaintiff demands that the instant action be tried before a jury.


                                   PETITION FOR RELIEF

       WHEREFORE, all premises considered, Plaintiff prays that judgment be entered in her

favor and against Defendant including the following relief:

       a.      An order directing the Defendant to reinstate Pierzchajio to his employment or an

               award of front pay until age 70 in lieu of reinstatement and to cease and desist of

               any discriminatory conduct due to his age.

       b.      Back pay, together with interest.

       c.      Lost benefits and salaries both, past and future.

       d.      Severance pay under 29 LPRA Section 185a.

       e.      An award of liquidated damages equal to twice the back pay lost by Pierzchajio.

       f.      An award of compensatory damages for the emotional suffering and distress

               resulting from Defendant discriminatory discharge in an amount not less than

               $500,000.00.

       g.      An award of double compensatory damages and back pay pursuant to Law No.

               100.

       h.      Attorney’s fees and costs pursuant to 29 USCA 1132 (g).

       i.      An award of attorney's fees, together with costs and necessary disbursements.

       j.      Any other remedy that this Court may deem just and proper.

       RESPECTFULLY SUBMITTED



                                                   6
Case 3:17-cv-01682-PAD Document 1 Filed 05/19/17 Page 7 of 7




   In San Juan, Puerto Rico, this 19th day of May 2017.




                                         S/Manuel Durán-Rodríguez
                                         MANUEL DURAN-RODRIGUEZ, ESQ.
                                         USDC- PR No.204512
                                         MANUEL DURAN LAW OFFICE
                                         1139 AMERICO MIRANDA AVE.
                                         SAN JUAN, PUERTO RICO 00921
                                         TEL. (787) 781-7373
                                         FAX (787) 781-7771
                                         Mduranlaw@aol.com




                                            7
